Case 8:13-cr-00220-CJE \Document 80-1 Filed 01/05/15 Page 1 of 61 Page ID #:996

- Exhibit 5

 
 

Case 6:15-cr-00220-CJG Pocument 60-1 Filed 01/05/15 Page 2 of 61 Page ID #997
Case 8:13-cr-00220-CJC Document 59 Filed 11/20/14 Page 69 of 301° Page ID #:342

Stephanie Ames (SBN 195608)
The Law Office of Stephanie Ames
12100 Wilshire Bivd., Suite 800
Los Angeles, CA 90025

T (310) 739-5952

F (310) 881-1289
stephanieames@msn.com

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

United States of America CASE NUMBER

, PLAINTIFF SA 8:13-CR-0220-CJC

 

WILLIAM KEITH KNOX
. SUBPOENA IN A CRIMINAL CASE

 

DEFENDANT(S).

TO: Custodian of Records, Columbia Capital Advisors, Inc., c/o Michael Donahue, Statutory Agent, 17236 Avenida de
La Herradura, Pacific Palisades, CA 90272

WM YOU ARE HEREBY COMMANDED to appear in the United States District Court at the place, date and time
specified below to testify in the above case.

Place: Ronald Reagan Federal Bldg., 411 West Fourth Street, Santa Ana, CA 92701 _ Courtroom: 9B
Date: December 14, 2014 Time: 9:00 a.m.

WM YOU ARE ALSO COMMANDED to bring with you the following document(s) or object(s):

Please see attached Exhibit A. To avoid any inconvenience on the return date, please contact the attorney listed below:

Dylan T. Ciciliano, Esq., Nevada Bar No. 12348

(Admitted Pro Hac Vice)

Gordon Silver
3960 Howard Hughes Parkway, 9th Floor
Las Vegas, NV 89169

deiciliano@gordonsilver.com
Tel: 702-796-5555
.Co-Counsel for Defendant William Keith Knox

ITEMS MAY BE PRODUCED IN LIEU OF APPEARANCE ON OR BEFORE DECEMBER 14, 2014.

Torun Napier

Terry Nafisi, Glbrk of Coutt

 

 

 

CR-21 (09/08) SUBPOENA IN A CRIMINAL CASE : Page 1 of 2

EXHIBIT 5

 
 

 

Document 59. Filed 11/20/14 Page 70 of 301 Page ID #:343

  

 

     

Case 8:13-Cr-00220-CIC FT

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PROOF OF SERVICE
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SERVED ON (PRINT NAME). FEES AND MILEAGE TENDERED TO WITNESS
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~ DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Proof of Service is true and correct.

Executed on
Date Signature-of Server

 

Address of Server:

 

 

 

ADDITIONAL INFORMATION

 

 

 

 

CR-21 (09/08) SUBPOENA IN A CRIMINAL CASE Page 2 of 2

EXHIBIT 5

 
 

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Case §:13-cr-00220-CJC Document 59 Filed 11/20/14 Page 71 of 301 Page ID #:344

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Gordon Silver

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Attorneys At Law

Ninth Floor

3960 Howard Hughes Pkwy
Las Vegas, Nevada 89169

(702) 796-5555

EXHIBIT “A”

 

DEFINITIONS AND DOCUMENTS TO BE PRODUCED

 

 

The following definitions and rules of construction shall apply to these requests, and shall

be interpreted to the broadest extent possible. Terms not defined below shall have their ordinary

and common meanings.

1,

As used in these requests, the term “and” as well as “or” shall be construed either

disjunctively or conjunctively, as necessary, to bring within the scope of these requests any

information which might otherwise be construed to be outside their scope.

2.

The terms “You” and “Your” refers to Columbia Capital Advisors, as well as to

all present or past employees, servants, agents, attorneys, investigators, representatives, or any

other person or entity directly or indirectly subject to their respective control, and/or purporting

to act on their behalf.

3.
4.

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il.
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attorneys. _

14.

103317-003/exhibit A. - Columbia Capital

The term “Mr. Knox” means William Keith Knox.

The term “OTA” means Osseous Technologies of America.

The term “FDA” means the United States Food and Drug Administration.

The term “FBI” means Federal Bureau of Investigation.

The term “USPTO” means United States Patent and Trademark Office

The term “Zimmer” means Zimmer Dental, Inc.

The term “Trustee” means David L. Hahn.

The term “Ensley” means Lori Ensley, her agents, representatives, and attorneys.
The term “Marshack” means Marshack Hays, LLP.

The term “BSKB” means Birch, Steward, Kolash & Birch, LLP.

The term “Tuber” means Michael Tuber, his agents, representatives, and

The term. “Costigan” means William Costigan, his agents, representatives, and

lof 7

EXHIBIT 5

 

 
 

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Case 8913-cr-00220-CJC. Document 59 Filed 11/20/14 Page 72 of 301. Page ID #:345

1. i} attorneys.

2 15. The term “Curran” means Patrick Curran, his agents, representatives, and
3 | attorneys. |

4 16. The term “Malmquist” means Jay Malmquist, his agents, representatives, and

5 || attorneys.

6 17. The term “Cheung” means David Cheung, his agents, representatives, and
7 || attorneys.
8 18, “Refer,” “relate” or “relating to” or “relative to” means constituting, comprising,
9 || containing, setting forth, showing, disclosing, describing, explaining, summarizing, concerning,
10 ||. or referring to directly or indirectly.
il 19. The term “Person” includes, without limiting the generality of its meaning, every

12. || natural person, corporate entity, partnership, association, governmental body, or agency.
13° 20, As used herein, “document” shall be deemed to mean any printed, typewritten,
14 handwritten, electronic, or otherwise recorded matter of whatever character, whether original,
15 ]) master or copy (whether still active, archived or transparent) and any copies or reproductions that.
16 || are not identical to the original, that is or has been in the possession, control or custody of you,
17 || your attorney and/or all other person acting in your behalf or of which any of the aforementioned
18 || persons have knowledge, other person acting in your behalf or of which any of the
19 || aforementioned persons have knowledge, including, but not limited to, letters, e-mail (internal
20 || and external), communications, correspondence, memoranda, confirmations, facsimile
21. || transmittal sheets, transmittal forms, telegrams, notes, summaries, minutes, contracts,
22 || subcontracts, purchase orders, leases, amendments, change orders, proposals, requests for
23-|| proposal, bids, marketing documents, reports, studies, drawings, charts, diagrams, sketches,
24 || estimates, specifications, addenda, schedules, directives, records of telephone conversations,
25 || staffing projections, records of meetings and conferences, including lists of persons attending
26 | meetings. or conferences, summaries and records of personal conversations or interviews, —
. 27 exhibits, transcripts, books, manuals, publications, diaries, logs, daily reports, status reports,
28 || minutes of meetings, records, journals, entries in journals, charts, financial records and/or
Gordon Silver

Attorneys At Law : 2 of 7

Ninth Floor el iby . i ij

3960 Howard Hughes Pkwy 103317-003/exhibit A Columbia Capital

Las Vegas, Nevada 89168
(702) 796-5555

 

 

EXHIBIT 5

 
 

 

Case 8:13-cr-00220-CJC “Pocument 80-1 Filed 01/05/15 - Page 6 of 61 “Page ID #:1001 ©
Case 9f13-cr-00220-CJC Document 59 Filed 11/20/14 Page 73 of 301 Page ID #:346

1 {| summaries of financial records, work papers, bills, ledgers, financial statements, audit reports,
2 || financial data, status sheets, contract status reports, tax returns, certificate. of insurance,
3 || agreements of suretyship and/or indemnification, insurance policies, calendars, summaries of
4 || investigations and/or surveys, statistical compilations, audio or visual recordings, photographs,
5 jy epm schedules, spreadsheets, computer or magnetic records, computer memory (including that of
any “transparent” information, information deleted from the personal computer or file but not
from the system), hard drives, floppy discs, optical discs, CD-ROM discs, Bernoulli discs and

their equivalents, magnetic tape, disaster recovery back-up, compact disks, computer generated

Oo CO SN

“reports or summaries, drafts of original or preliminary notes on and marginal comments
10 |} appearing on any documents, other reports and records, any other paper or physical thing
11 j| containing writing, photographic, imaged, or electronically recorded data, every copy of such

12 || writing or records where the original is not in the possession, custody or control of the

 

13 || aforementioned persons, and every copy of every such writing or record where such copy
4 contains any commentary or notation whatsoever that does not appear on the original.

15 21. .. The term “Communication” means any contact, oral or written, formal or
16 || informal, at any time or any place under any circumstance whatsoever whereby any information
17 || of any nature was transmitted or transferred, including but not limited to personal conversation,
18 || conferences, telephone conversations, memoranda, letters, correspondence, reports and

19 || publications.

20 22. “Any” and “All” are interchangeable.
21 23. The singular form includes the plural form and vice versa.
22 24. If any document requested to be produced. was but is no longer in the possession

23 || or control of the aforementioned persons, or is no longer in existence, state whether it is (1)
24 || missing or lost, (2) destroyed, (3) transferred voluntarily or involuntarily to others and if so to
25 || whom, or (4) otherwise disposed of; and in each instance explain the circumstances surrounding
26 || an authorization of such disposition thereof and state the approximate date thereof.

27 25. Ifany document is held under claim of ptivilege, please identify the document for

28. || which there is a claim of privilege as follows:

Gordon Silver
Atiorneys At Law. * 3 of 7

Ninth Floor 317. ibit A - ia Capi
3060 Howard Hughes Pkwy 103317-003/exhibit A - Columbia Capital

Las Vegas, Nevada 89769
(702) 795-5565

 

 

| EXHIBIT 5
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Case 813-cr-00220-CJC Document 59 Filed 11/20/14 Page 74 of 301. Page ID #:347

 

1 a. _ A full description thereof, including without limitation:
2 i The date it bears;

3 it The name of each person who prepared it or who participated in
4 any way in its preparation;
5 i, The name of each person who signed it; :
6 iv. The name of each person to whom it, or a copy of it was
q addressed;
8 V. The name of each person who presently has custody of it or a copy
9 of it;

10 Vi The subject matter and its substance; and

11 Vil. What factual basis there is for the claim of privilege.

12 26. . In answering these Discovery Requests, you are requested to furnish all

13 || information available at the time the responses are made, including information in the possession

14 || of its attorneys or investigators for your attorneys, not merely information known to your

15 || officers, directors, agents and employees. .

 

16
17 REQUEST FOR PRODUCTION OF DOCUMENTS
18 1. Any and all documents and communications relating to OTA and/or Mr. Knox from 2008
to present.
19
2. Any and all documents and communications between YOU and Costigan, Tuber, Curran, |
20 Malmquist, Cheung, the FBI, or any agent of the Government that refer or relate to OTA
or Mr. Knox.
21 ,
3. Any and all documents related to any intellectual property held or once held by OTA
22 from 2008 to present, including but not limited to:
i
23 e . Patents
® Trademarks
24 e Copyrights
25 4. Any and all documents or communications relating to the appraisal or valuation of: OTA, 4
known and unknown intellectual property and/or trade secrets of OTA, any technology
26 ||... stemming from any and all patents held by OTA or assigned to OTA or ‘contained i in any
pending patent applications, any and all experimental and clinical data related to the Food
27 “and Drug Administration. $10(k) submission(s) and OTA, and collagen products owned
or once owned by OTA, as defined in Jn re Osseous Technologies of America Inc., Case
28 |. No. 8:13-bk-14500, at. Dkt. 248, including: but not limited to those appraisals and
one Atta a a | 40f7
3960 ower GH aghes Plawy 103317-003/exhibit A - Columbia Capital

Las Vegas, Nevada 89169
(702) 798-5555

 

 

EXHIBIT 5

 
 

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~ Gordon Silver

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Attomeys At Law

Ninth Floor

3960 Howard Hughes Pkwy
Las Vegas, Nevada 89169

(702) 796-5555

 

 

 

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13-cr-00220-CJC Document 59 Filed 11/20/14 Page 75 of 301 Page ID #:348

10.

valuations prepared by YOU.

. Any and all documents relating to the intellectual property referred to as collagen ridge

augmentation "Tunnels,""CurV line," or devices used for sinus lift procedures, from 2006
to present.

Any and all communications between OTA, its present and former representatives,
agents, custodians or employees and the USPTO.

Any and all communications and documents that refer or relate to the USPTO as it relates
to OTA and/or technology possessed or once possessed by OTA.

Any and all communications between YOU and the USPTO as it relates to OTA, its
present and former representatives, agents, custodians or employees, and Mr. Knox.

Any and all communications between OTA, its present and former representatives,
agents, custodians or employees and the FDA.

Any and all communications and documents that refer or relate to the FDA as it relates to

_ OTA and/or technology possessed or once possessed by OTA.

il.
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103317-003/exhibit A - Columbia Capital

Any and all FDA 510(k) submission(s) that refer or relate to OTA and/or intellectual
property once belonging to OTA.

Any and all communications between YOU and the FDA as it relates to OTA, its present
and former representatives, agents, custodians or employees, and Mr. Knox.

Any and all communications and documents that refer or relate to the Zimmer as they
pertain to OTA and/or technology possessed or once possessed by OTA.

Any and all communications between OTA, its present and former representatives,
agents, custodians or employees and Zimmer, between 2008 and present.

Any and all communications between YOU and Zimmer as it relates to OTA, its present
and former representatives, agents, custodians or employees, and Mr. Knox.

Any and all documents or communications that refer or relate to the sale of the
distribution dental company, intellectual property, or any other assets of OTA, including
any discussions with any and all potential acquirers.

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EXHIBIT 5

 

 
 

 

Case 8:13-cr-00220-CJE™ Document 80-T

Case 8

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Gordon Silver
Attorneys At Law
Ninth Floor
3960 Howard Hughes Pkwy
Las Vegas, Nevada 89169
(702) 796-5655

 

 

 

Page o Orel Page ID #1007
13-cr-00220-CJL Document 59 Filed 11/20/14 Page 76 of 301 Page ID #:349

EXHIBIT “B”

DECLARATION OF CUSTODIAN OF RECORDS

 

 

 

 

 

 

 

STATE OF )
)ss.
COUNTY OF = )
I, declare as follows:
(Print Name)
1. That the deponent is the (position or title) of
(name of employer) and in his or
her capacity as__ (position or title) is a custodian of
records of (name of employer).
2. That (name of employer) is licensed to do
business as a in the State of California.
3. That on the day of the month of 2014, the deponent was served

with a subpoena in connection with the above-entitled cause, calling for the production of
records or objects pertaining to

 

4, I certify that no documents, records or other materials have been withheld.

5. 1 certify that I have made a diligent, thorough and complete search of all available
“sources including the computer databases for both open and closed files whether in a
storage facility or any other location under the control of my employer for any and all
items to be produced on the attached Subpoena Duces Tecum.

6. That the original of those records was made at or near the time of the act, event,
condition, opinion or diagnosis recited therein by or from information transmitted by a
person with knowledge, in the course of a regularly conducted activity of the deponent or
(name of employer).

7. () We have no records responsive to this Subpoena Duces Tecum.

If signed in Nevada: I declare under penalty of perjury that the foregoing is true
and correct.

EXECUTED this _ day of | , 2014.

 

 

Signature (Print Name)

If signed outside of Nevada: I declare under penalty of perjury under the law of the
State of California that the foregoing is true and correct.

EXECUTED this day of . » 2014,

 

 

Signature (Print Name)

, 6 of 7
103317-003/exhibit A - Columbia Capital

EXHIBIT 5

 

 
 

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Case 8913-cr-00220-CJC Document 59 Filed 11/20/14 Page 77 of 301 Page ID #: 350

 

 

 

 

 

 

1 _ AFFIDAVIT OF SERVICE
2 | STATE OF CALIFORNIA )
3 || COUNTY OF *
4 being duly swom says: That at all times
5 || herein affiant was over 18 years of age, not a party to nor interested in the proceeding in which
6 || this affidavit is made. That affiant received the Subpoena Duces Tecum and Witness
7 || FeesCheck onthe day of , 2014, and served the same on the day of
8 , 2014, by delivering a copy to the witness at:
9

10

11 I declare under penalty of perjury under the law of the State of California that the

12 || foregoing is true and correct.

13 EXECUTED this day of _, 2014.
14 |
15
16

 

Signature of person making service

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Gordon Silver : : . :
Attorneys At Law : 7 of 7

Ninth Floor 003 hit Ae ¥ i

3960 Howard Hughes Pkwy 103317-003/exhibit A - Columbia Capital

Las Vegas, Nevada 89169
(702) 796-5555

 

 

EXHIBIT 5

 
 

Exhibit 6

 
 

Case 8:13-cr-00220-CJC ¢ Document 80-1. Filed 01/05/15 Page 12 of 61 Page ID #:1007
Case 8:13-bk-14500-SC Doci Filed 05/22/13 Entered 05/22/13 16:29:45 Desc

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BS (Official Form 5) (12/07)

Main Document _ Page 1. of 2

FORM 5. INVOLUNTARY PETITION

 

expe OSSEOUS Technologies of America, Inc.

RE (Name of Debtor « If Individual: Last, First, Middle)

United States Bankruptcy Court
Central District of California

INVOLUNTARY
PETITION

 

 

 

more than one, state all.)

pisest four digits of Social-Security or other Individual’s Tax-ID No./Complete EIN

ALL OTHER NAMES used by debtor in the last 8 years
(include married, maiden, and trade names.)

 

 

4500 Campus Drive, Suite 662
C2 newport Beach, CA 92660

h 8 eer ADDRESS OF DEBTOR (No. and street, city, state, and zip code)

 

 

_Orange

COUNTY OF RESIDENCE OR
PRINCIPAL PLACE OF BUSINESS

 

MAILING ADDRESS OF DEBTOR (If different from street address)

Osseous Technologies of America, Inc.
clo Richard 0. Weed

4695 MacArthur Court, Suite 1430
Newport Beach, CA 92660

 

LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR (If different from previously listed addresses)

 

[2 Chapter 7 £1 Chapter 11

CHAPTER OF BANKRUPTCY CODE UNDER WHICH PETITION IS FILED

 

INFORMATION REGARDING DEBTOR (Check applicable boxes)

 

Nature of Debts

(Check one box)

Petitioners believe:
C1 Debts are primarily consumer debts
EB Debts are primarily business debts

 

Type of Debtor
(Form of Organization)
(1 Individual (Includes Joint Debtor)
I Corporation (Includes LLC and LLP)
1) Partnership
CO) Other (If debtor is not one of the above entities,
check this box and state type of entity below.)

 

Nature of Business (Check one box)

& Health Care Business

C) Single Asset Real Estate as defined in
11 U.S.C. § 101(51)(B)

CI Railroad

Stockbroker

C] Commodity Broker

(1 Clearing Bank

C) Other

 

 

VENUE

days immediately preceding the date of this peti
a longer part of such 180 days than in any other

partner or partnership is pending in this District.

Debtor has been domiciled or has had a residence, principal
place of business, or principal assets in the District for 180

A bankruptcy case concerning debtor’s affiliate,

[| Full Filing Fee attached

tion or for
District,

general
1994, no fee is required]

 

FILING FEE (Check one box)

) Petitioner is a child suport creditor or its representative, and the form specified
in § 304(g) of the Bankruptcy Reform Act of 1994 is attached.

Ufa child support creditor or its representative is a petitioner, and if the

petitioner files the form specified in § 304(g) of the Bankruptcy Reform Act of

 

PENDING BANKRUPTCY CASE FILED BY OR AGAINST ANY PARTNER
OR AFFILIATE OF THIS DEBTOR (Report information for any additional cases on attached sheets.)

 

Name of Debtor

William K. Knox

Case Number

Bi Vere = lhyg9 4. oc

Date

May 22, 2013

 

Relationship

Corporate Debtor's Insider

 

District

Central District of California

Judge

Scot} C Clacleson.

 

 

(Check appli

of the United States Code.

or

of the property of the debtor for the purpose of
property, was appointed or took possession.

 

3.b. [J Within 120 days preceding the filing of this petition, a custodian, other than a trustee
receiver, or agent appointed or authorized to take charge of less than substantially all

ALLEGATIONS

cable boxes)

1. [& Petitioner(s) are eligible to file this petition pursuant to 1! U.S.C. § 303(b).
2. [i The debtor is a person against whom an order for relief may be entered under title 1]

3.a. [I The debtor is generally not paying such debtor’s debts as they become due, unless
. such debts are the subject of a bona fide dispute as to liability or amount;

,

enforcing a lien against such

 

 

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COURT USE ONLY

FILED
MAY 22 2013

Tov COURT
CLERK U.S. BANKRUPT CN TE ORNIA
CENTRAL DISTRICT OF CALIPORN

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Best Case Bankruptcy

EXHIBIT 6

 
Case 8:13-cr-00220-CJ€™Document 80-1 Filed 01/05/15 Page 13 of 61. Page ID #:1008

Case 8:13-bk-14500-o¢ Doc1 Filed 05/22/13 Entered 05/22/13 16:29:45 Desc

Main Document Page 2 of 2 C_ ‘ous Technologies of America,
Name of Debtor__its. -¥

BS (Official Form 5) (12/07) - Page 2 Case No

 

 

TRANSFER OF CLAIM
CI Check this box if there has been a transfer of any claim against the debtor by or to any petitioner. Attach all documents evidencing the
transfer and any. statements that are required under Bankruptcy Rule 1003(a).

 

; REQUEST FOR RELIEF .
Petitioner(s) request that an order for relief be entered against the debtor under the chapter of title 11, United States Code, specified in this petition. If any

petitioner is a foreign representative appointed in a foreign proceeding, a certified copy of the order of the court granting recognition is attached.

OWE

Signature“of Attorney Hr J (G z 2 @ Date

Petitioner(s) declare under penalty of perjury that the foregoing is true and
correct accordipgyo the best of their knowledge, information, and belief.

L ZA. (i
Signature of Petitioner or Representative (State title)

SSrpf/ 3 Thomas J. Polis

ety N FA Y Firm Cf
Axi “Signe i ame of Attorney Firm (if any}

. POLIS & ASSOCIATES, APLC _ :
Name & Mailing Patrick Curran 19800 MacArthur Boulevard, Suite 1000
Address of Individual 2999 Laguna Canyon Rd. irvine, CA 92612-2433

Signing in Representative. Laguna Beach, CA 92651 Address

Capacity Telephone No,

    

Xx

 

Patrick Curran
Name of Petitioner

(949) 862-0040

x 4
x Signature of Attorney Date
Signature of Petitioner or Representative (State title)

 

 

Name of Attorney Firm (If any)

 

 

 

Name of Petitioner Date Signed
Name & Mailing
Address of Individual _
Signing in Representative ° Address
Capacity Telephone No.
xX :
x Signature of Attorney Date

 

Signature of Petitioner or Representative (State title)

 

 

Name of Attomey Firm (If any}

Name of Petitioner Date Signed

 

 

 

Name & Mailing,

Address of Individual

Signing in Representative Address

Capacity Telephone No.
PETITIONING CREDITORS

 

Name and Address of Petitioner
Patrick Curran

2999 Laguna Canyon Rd.
Laguna Beach, CA 92651

Nature of Claim
Breach of Promissory Note; Breach of Guarantee

Amount of Claim

357,912.55

 

Name and Address of Petitioner

Nature of Claim

Amount of Claim

 

Name.and Address of Petitioner

Nature of Claim

 

Amount of Claim

 

Note: If there are more than three petitioners, attach additional sheets with the statement under pénalty of
, perjury. each petitioner's signature under the statement and the name of attorney and petitioning
creditor information in the format above. .

 

 

Total Amount of
Petitioners’ Claims

357,912.55

 

. 0 __ continuation sheets attached
Software Copyright (c) 1996-2013 -CCH INCORPORATED +www.besicase.com

 EXBfEITS”

 

 
Case 8:13-cr-00220-CJCf Document 80-1 Filed 01/05/15 Page 14 of 61 Page ID #:1009

Exhibit 7 _

 
Case 8:13-cr-00220-CJ€ Document 80-1 Filed 01/05/15 Pave 15 of 61 Page ID #:1010

Case 8:13-bk-14500-SC Doc 111 Filed 10/02/13 Entered 10/02/13 14:12:44 Desc
PETER ANDERSON Main Document. Page iof1

UNITED STATES TRUSTEE
OFFICE OF THE UNITED STATES TRUSTEE
41) WEST FOURTH STREET, SUITE 9041
SANTA ANA, CALIFORNIA 92701
TELEPHONE: (714) 338-3400
FAX: (714) 338-3421
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
SANTA ANA DIVISION

IN RE: CASE NO. 8:13-bk-14600 SC
OSSEOUS TECHNOLOGIES OF AMERICA INC., CHAPTER 7

NOTICE OF APPOINTMENT OF TRUSTEE AND
FIXING OF BOND; ACCEPTANCE OF
APPOINTMENT AS TRUSTEE

 

Debtor,

 

PURSUANT TO 11 U.S.C.§ 701 and 11 U.S.C. §322

David L. Hahn
22342 Avenida Empresa, Suite 200
Rancho Santa Margarita, CA 92688

  
 

    

‘ne

is appointed Interim Trustee in the above captioned matter and is hereby designated to preside at the
Y ng of creditors. This case is cavered by the Chapter 7 blanket bond on fle with the Court on
hai’ of the Trustees listed on Schedule A of the bond and any amendments or modifications thereto.

Vad

DATED: October 2, 201

PETER ANDERSON
United States Trustee

L the undersigned, affirm that to the best of my knowledge and belief, | am disinterested within the
meaning of 11 U.S.C. § 101(14), and on this basis, | am hereby accept my appointment as interim
Trustee in the matter of #7 Re: Osseous Technologies of America inc, Debtor, Case No, 8:13-bk-14500
SC, l will immediately notify the United States Trustee if) become aware of any facts to the contrary.

 

: é oe LEE i sgt ct ae
DATED: (@. 7 7° Ze/ 3 POAC PNR CPt oy

 

 

    

~-EXHIBIT-7

 

 
 

Case 8:13-cr-00220-CJC/ Document 80-1 Filed 01/05/15 Page 16 of 61 Page ID #:1011

- Exhibit 8

 
Case 8:13-cr-00220-CJQ"” Document 80-1 Filed 01/05/15 Page 17 of 61 Page ID #:1012
Case 8:13-bk-14500-SC Doc 348 Filed 10/08/14 Entered 10/08/14 11:32:52 Desc

Main Document Page 1of1
PETER C. ANDERSON
UNITED STATES TRUSTEE
OFFICE OF THE UNITED STATES TRUSTEE
411 WEST FOURTH STREET, SUITE 9041
SANTA ANA, CALIFORNIA 92701
TELEPHONE: (714) 338-3400
FAX: (714) 338-3421

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
SANTA ANA DIVISION

IN RE: CASE NO.: 8:13-bk-14500 SC

CHAPTER 7
OSSEOUS TECHNOLOGIES OF AMERICA,

NOTICE OF APPOINTMENT OF TRUSTEE AND
FIXING OF BOND; ACCEPTANCE OF
Debtor. APPOINTMENT AS TRUSTEE

 

PURSUANT TO 11 U.S.C. 322

RICHARD A. MARSHACK
870 Roosevelt
Irvine, CA 92620

is appointed Trustee of the case of said debtor(s). This case is covered by the Chapter 7 blanket bond
on file with the Court on behalf of the trustees listed on Schedule A of the bond and any amendments or
modifications thereto.

The Trustee appointed herein shall serve as trustee without further appointment or qualification,
provided that the trustee is disinterested.

PETER C. ANDERSON
United States Trustee

|, the undersigned, affirm that to the best of my knowledge and belief, | am disinterested within the
meaning of 11 U.S.C. 101(14), and on this basis, | am hereby accept my appointment as Trustee in the
above case. | will immediately notify the United States Trustee if | become aware of any facts to the
contrary.

DATED: 10/8/14
, /s/ Richard A. Marshack
RICHARD A. MARSHACK
Trustee

EXHIBIT 8

 
 

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Exhibit 9

 
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RICHARD A. MARSHACK, #107291
rmarshack@marshackhays.com
DAVID A. WOOD, #272406
dwood@marshackhays.com
MARSHACK HAYS LLP

870 Roosevelt Avenue

Irvine, CA 92620

Telephone: (949) 333-7777
Facsimile: (949) 333-7778

Proposed Attorneys for Chapter 7 Trustee,
DAVID L. HAHN

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

In re Case No. 8:13-bk-14500-SC
OSSEOUS TECHNOLOGIES OF Chapter 7
AMERICA, INC.,

APPLICATION BY CHAPTER 7 TRUSTEE TO
Debtor. EMPLOY MARSHACK HAYS LLP AS
GENERAL COUNSEL; DECLARATION OF
RICHARD A. MARSHACK IN SUPPORT

 

[NO HEARING REQUIRED]

 

TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,
THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL OTHER INTERESTED
PARTIES:

David L. Hahn, in his capacity as Chapter 7 Trustee (“Trustee”) of the
Bankruptcy Estate (“Estate”) of Osseous Technologies of America, Inc. (“Debtor”) respectfully
submits this application (“Application”) for entry of an Order authorizing the employment of
Marshack Hays LLP (“Firm”) as the Trustee’s general counsel in this case pursuant to 11 U.S.C.
§327.

In support of this Application, the Trustee respectfully represents as follows:
I. PERTINENT BACKGROUND FACTS .

An Involuntary Petition against the Debtor was filed on May 22, 2013 by creditor:

Patrick Curran. .

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APPLICATION TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024

EXHIBIT 9

 

 
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On June 20, 2013, the Debtor filed its answer to the Involuntary Petition.

On August 21, 2013, an Order for Relief under Chapter 7 of the Bankruptcy Code
was entered (the “Relief Order No. 1”). Thereafter, on August 23, 2013, Debtor and Mr. Curran
filed a stipulation for “Delay and Execution of Entry and Entry for Order for Relief and
Anticipated Request for Dismissal of Case Pending Completion of Settlement” (the “Dismissal
Stipulation”). The court granted the Stipulation, and vacated Relief Order No. 1 via an order
entered on August 23, 2013 (the “Stipulation Order”).

On August 29, 2013, Debtor filed a motion to dismiss the underlying bankruptcy
case (the “Dismissal Motion”). os

On September 9, 2013, the court issued an “Order To Show Cause Why Order For
Relief Should Not be Entered” (the “OSC’’) which was set for hearing for September 19, 2013.
After the hearing held on September 19, 2013, the court entered an “Order For Relief in An
Involuntary Case” (the “Relief Order No. 2.”). Pursuant to the Relief Order No. 2, Debtor was to
“file within seven (7) days after entry of this order for relief, a list containing the name and
address of each entity included on Schedule D, E, F, G, and H, as prescribed by the Official
Forms. .. Debtor must file schedules, and statement referred to in Federal Rules of Bankruptcy
Procedure 1007 within fourteen (14) days after entry of this Order for Relief.” See Relief Order
No. 2, pg. 2, Ins 6-11. Stated otherwise, Debtor had until September 26, 2013 to file a list of
creditors, and until October 3, 2013 to file his schedules and statement of financial affairs.

On October 2, 2013, David L. Hahn was appointed as Chapter 7 trustee (“Trustee”)
for the bankruptcy estate (“Estate”). Debtor filed a stipulation vacating the Dismissal Motion
which was approved by the court via an order entered on October 2, 2013.

To date, in violation of Relief Order No. 2, Debtor has failed to file a list of
creditors, schedules, or a statement of financial affairs. The Trustee believes there are potential
assets for the benefit of the Estate and creditors.

A. REQUIREMENTS FOR APPLICATION TO EMPLOY PROFESSIONAL

Pursuant to Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local

Bankruptcy Rule 2014-1, there follows a summary of the proposed employment of the Firm.

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APPLICATION TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024 : :

 

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Should any additional information be requested by the Office of the United States Trustee, the
Court, or any party in interest, the Firm will provide a supplemental declaration prior to any
hearing on this Application.
1. LBR 2014-1(b)(1)(A) and LBR 2014-1(b)(3)(B) — Employment and Compensation
Pursuant to LBR 2014-1(b)(1)(A), “[a]n application seeking approval of
employment of a professional person pursuant to 11 U.S.C. §§ 327, 328, 1103(a), or 1114 must
comply with the requirements of FRBP 2014 and 6003(a) and be filed with the court. The
application must specify unambiguously whether the professional seeks compensation pursuant to
11 U.S.C. § 328 or 11 U.S.C. § 330.”
Pursuant to LBR 2014-1(b)(3)(B), the Notice of the Application must also “{s]tate
whether the professional seeks compensation pursuant to 11 U.S.C. § 328 or 11 U.S.C. § 330.”
The Trustee seeks employment of the Firm pursuant to 11 U.S.C. §327. The Firm
will seek compensation pursuant to 11 U.S.C. §§330 and 331.
2. FRBP 2014

Rule 2014(a) of the Federal Rules of Bankruptcy Procedure provides as follows:

An order approving the employment of attorneys, accountants, appraisers,
auctioneers, agents, or other professionals pursuant to §327, §1103, or
§1114 of the Code shall be made only on application of the trustee or
committee. The application shall be filed and, unless the case is a chapter 9
municipality case, a copy of the application shall be transmitted by the
applicant to the United States trustee. The application shall state the specific
facts showing the necessity for the employment, the name of the person to
be employed, the reasons for the selection, the professional services to be
rendered, any proposed arrangement for compensation, and, to the best of
the applicant's knowledge, all of the person's connections with the Debtors,
creditors, any other party in interest, their respective attorneys and
accountants, the United States trustee, or any person employed in the office
of the United States trustee. The application shall be accompanied by a
verified statement of the person to be employed setting forth the person's
connections with the Debtors, creditors, any other party in interest, their
respective attorneys and accountants, the United States trustee, or any
person employed in the office of the United States trustee.

The Trustee is seeking employment of the Firm. A copy of this Application will be

served on the Office of the United States Trustee.

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APPLICATION TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024 :

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a. FRBP 2014 - Facts Showing the Necessity for the Employment

The Trustee requires assistance of counsel to investigate and, if warranted,
represent the Bankruptcy Estate in the liquidation of assets.

i. FRBP 2014 and LBR 2014-1(b)(3)(A) - Name of the Person to Be Employed

In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy |
Procedure, LBR 2014-1(b)(3)(A) provides that the Notice of the Application must “[s]tate the
identity of the professional and the purpose and scope for which it is being employed” (emphasis
added).

The Trustee seeks to employ the law firm of Marshack Hays LLP. Pursuant to
Rule 2014(b) of the Federal Rules of Bankruptcy Procedure, partners, members, and regular
associates of the Firm will act as attorneys for the Estate without further order of the court.

The persons who will render services in connection with the Firm’s representation
of the Estate are identified in the Firm’s billing detail, to be submitted with each application for

allowance of fees and reimbursement of costs, by their initials. Those persons include:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Timekeeper _ a
RAM Richard A. Marshack
DEH D. Edward Hays
DMG David M. Goodrich
CSC Cynthia A. Connors
KAT Kristine A. Thagard
JEM Judith E. Marshack
MAS ~ "| Martina A. Slocomb
SCB Sarah C. Boone
CVH Chad V. Haes
DW David A. Wood
PK Pamela Kraus
LB Layla Bergini
CLM Chanel Mendoza
CB Cynthia Bastida

 

 

 

b. FRBP 2014 and LBR 2014-1(b)(3)(A) - Reasons for the Selection
In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy
Procedure, LBR 2014-1(b)(3)(A) provides that the Notice of the Application must “[s]tate the

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APPLICATION TO EMPLOY MARSHACK HAYS LLP
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identity of the professional and the purpose and scope for which it is being employed” (emphasis
added).

The Trustee believes that the Firm is well-qualified to render the requested
professional services to the Estate, set forth more fully below. The Firm comprises attorneys who
have extensive experience in insolvency, bankruptcy, real estate litigation, and corporate
reorganization as well as litigation matters of the type that may need to be pursued herein. The
Firm is experienced in debtor/creditor matters, including the representation of trustees in
bankruptcy cases. The members of the Firm have a combined Bankruptcy Court practice of
decades, and the Firm has handled most issues that routinely arise in the context of a bankruptcy
case. |

All attorneys comprising or associated with the Firm who will appear in this case
are duly admitted to practice law in the courts of the State of California, the United States District
Court for the Central District of California, and this Court. A biography of each professional of
the Firm and a list of the current hourly billing rates is attached as Exhibit “1” to the Declaration
of Richard A. Marshack (the “Marshack Declaration”).

The Firm and each of the members, associates, and paralegals who will work on
this case are familiar with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and
the Local Bankruptcy Rules.

c. FRBP 2014 and LBR 2014-1(b)(3)(A) - Professional Services to be

Rendered

In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy
Procedure, LBR 2014-1(b)(3)(A) provides that the Notice of the Application must “[s]tate the
identity of the professional and the purpose and scope for which it is being employed” (emphasis
added). | |

The Trustee requires assistance of counsel to investigate and, if warranted, liquidate
assets. Additionally, Counsel is needed to compel the Debtor to file a list of all creditors, and his
schedules and statement of financial affairs as required by Relief Order No. 2. See Relief Order

No. 2, pg. 2, Ins 6-12. To date, Debtor is in violation of Relief Order No. 2. The Trustee also

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APPLICATION TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024

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needs assistance in compelling turnover of estate property, and in determining the current
operational status of Debtor. Currently, the Trustee is in an intolerable position as there are no
sworn statements made under the penalty of perjury, attesting to Debtor’s assets and liabilities.

In addition, the Firm may be required to assist the Trustee in the following matters:

A. To represent Trustee in any proceeding or hearing in the Bankruptcy Court
and in any action where the rights of the Estate or Trustee may be litigated or affected;

B. To conduct examinations of the Debtor, witnesses, claimants, or adverse
parties and to prepare and assist in the preparation of reports, accounts, applications, motions,
complaints and orders; and
C. To perform any and all other legal services incident and necessary herein
for the smooth administration of this bankruptcy case.

d. FRBP 2014 and LBR 2014-1(b)(3)(C) - Proposed Arrangement for

| Compensation

In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy
Procedure, LBR 2014-1(b)(3)(C) provides that the Notice of the Application must “[d]escribe the
arrangements for compensation, including the hourly rate of each professional to render services,
source of the fees, the source and amount of any retainer, the date on which it was paid, and any

provision regarding replenishment thereof[.]”

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The Firm will render services to the Trustee at the Firm’s regular hourly rates,
which may be adjusted from time to time. The Firm’s current hourly billing rates are as follows:

Timekeeper Rate/Period

Richard A. Marshack $540

D. Edward Hays $475

David M. Goodrich — $390

Cynthia A. Connors $395

Kristine A. Thagard $380

Judith E. Marshack $325 -

Martina A. Slocomb $325

Sarah C. Boone $325

Chad V. Haes $295

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“APPLICATION TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024 . :

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David A. Wood $285
Pamela Kraus $210
Layla Bergini $175
Chanel Mendoza $175
Cynthia Bastida $150.

 

The Firm will be compensated from assets of the Estate, if any, and will not be
compensated absent the Estate’s receipt or recovery of such assets. The Firm has received no
retainer for the services to be performed in this case, and has agreed that no retainer will be paid.

The Firm understands that its compensation in this case is subject to approval by
the Bankruptcy Court. In compliance with 11 U.S.C. §§330 and 331, the Firm intends to file
interim and final applications for allowance of fees and reimbursement of costs as and when
appropriate.

The Firm has advised the Trustee that the Firm has not shared or agreed to share
any compensation to be received by it in this case with any other person, except as among partners
of the Firm.

e. ERBP 2014 - Firm’s Connections and Associations

Except as disclosed herein and to the best of the Firm’s knowledge, neither the
Firm, nor any of the attorneys comprising or employed by it, has any connection with the Debtor
or the Debtor’s attorneys or accountants, the Debtor’s creditors, or any other outside party in
interest, or their respective attorneys or accountants.

Based on the foregoing, the Trustee believes that the Firm is a “disinterested
person” within the meaning of Bankruptcy Code Section 101(14). |

The Firm does not have an interest adverse to the Debtor or the bankruptcy Estate.
As of the Petition Date, the Firm was not a creditor of the Estate and was not owed any funds by
the Debtor. |

To the best of the Firm’s knowledge, and as set forth in the attached Marshack
Declaration, none of the attorneys comprising or employed by the Firm are related to any judge of
the United States Bankruptcy Court for the Central District of California, the United States |
Trustee, or any person currently employed in the Office of the United States Trustee, except that:

(1) Richard A. Marshack and David M. Goodrich are panel Chapter 7 trustees; (2) Applicant has
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“APPLICATION TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024

EXHIBIT 9

 

 
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I |served as general counsel to David L. Hahn in other unrelated cases; and (3) Trustee has served as

 

 

2 accountant to David M. Goodrich and Richard A. Marshack their capacities as Chapter 7 trustee.
3 3. LBR 2014-1(b)(1\(B) — Disinterestedness of the Firm
4 Pursuant to Pursuant to LBR 2014-1(b)(1)(B), “The application must be

5 accompanied by a declaration of the person to be employed establishing disinterestedness or

6 |idisclosing the nature of any interest held by such person.” The Marshack Declaration submitted

7 |with this Application provides information establishing the Firm’s disinterestedness.

& 4, LBR 2014-1(b)(1)(C) = Service on Office of the United States Trustee

9 Pursuant.to Pursuant to LBR 2014-1(b)C1 iC), “The United States Trustee must be
0 |served, in accordance with LBR 2002-2(a), with a copy of the application and supporting

11 | declaration not later than the day it is filed with the court. No hearing is required unless requested
12 | by the United States trustee or a party in interest, or as otherwise ordered by the court.” As set:

13 [forth in the sworn Proof of Service filed contemporancously with this document, the Firm served a
14 | copy of this Application on the Office of the United States Trustee on the date this Application
was filed with the Court.

161B. CONCLUSION

17 WHEREFORE, the Trustee requests that it be authorized to employ the Firm as its |
1 8 | general counsel pursuant to 11 U.S.C, §327 at the Firm’s hourly rates with any compensation and
19 |reimbursement of costs to be paid by the Estate only upon application to and approval by the

20 | Court pursuant to [1 U.S.C. §§330 and 331.

21 |Dated: October ‘2013 Respectfully submitted,

22 Lp

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23 By: £0 2 2tee Ly
on DAVID L. HAHN.
Chapter 7 ‘Trustee for the Bankruptcy Estate of
Osseous Technologies of America, Inc.

   

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APPLICATION TO EMPLOY MARSHACK HAYS-LLP’
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DECLARATION OF RICHARD A. MARSHACK

I, RICHARD A. MARSHACK, declare and state as follows:

1. Tam an attorney at law licensed to practice in this state and admitted to
practice in this Court. | am a partner in the law firm Marshack Hays LLP (“MHLLP” or the
“Firm”) and maintain offices at 870 Roosevelt Avenue, Irvine, California, 92620.

2. I make this Declaration in support of the Application of Chapter 7 Trustee
to Employ Marshack Hays LLP as General Counsel (“Application”) filed by the Chapter 7 Trustee
(the “Trustee”) for the Bankruptcy Estate (“Estate”) of Osseous Technologies of America, Inc.
(the “Debtor”) Case No. 8:13-bk-14500-SC.. If called as a witness, I could and would competently
testify to the following of my own personal knowledge, information and belief.

3. I have reviewed the court’s PACER docket and the files contained therein
for this case. The citations in this Application are all to pleadings previously filed in this case by
the U.S. Trustee, Debtor, and creditors and the docket numbers referenced herein are the docket
numbers identified on PACER. The information referenced in this Application from the pleadings
filed in this case is true and accurate.

4, The Firm is well-qualified to render the foregoing services. The Firm is
comprised of attorneys who have extensive experience in insolvency, bankruptcy and corporate
reorganization and is well-qualified to represent the Trustee in proceedings of this nature. The
Firm is experienced in debtor/creditor matters, including the representation of trustees in
bankruptcy cases. The members of the Firm have practiced in the Bankruptcy Court for many
years, and the Firm has handled virtually every type of matter that can arise in the context of a
bankruptcy case and is well able to perform the legal services required in this case.

5. All attorneys comprising or associated with the Firm who will appear in this
case are duly admitted to practice law in the courts of the State of California and in the United -
States District Court for the Central District of California. A biography of each professional of the

Firm with billing rates is attached hereto as Exhibit “1.” The Firm and each of the members,

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APPLICATION TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024 :

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associates, and paralegals who will work on this case are familiar with the Bankruptcy Code, the

Federal Rules of Bankruptcy Procedure, and the Local Bankruptcy Rules.

 

 

 

 

 

 

 

6. The Firm’s current hourly billing rates are as follows:

Partners $390 to $540

Associates $285 to $395

Paralegals $175 to $210
7. The Firm has not received a retainer for the services to be performed herein.
8. The Firm understands that its compensation in this case is subject to

approval of this Court pursuant to 11 U.S.C. §§ 327, 330 and 331.

9. The Firm has not shared or agreed to share any compensation to be received
by it in the case with any other person, except as among partners of the Firm.

10. .. The Firm completed a conflicts check prior to submitting this Application.

ll. To the best of my knowledge, neither the Firm, nor any of the attorneys
comprising or employed by it, has any connection with the Debtor or the Debtor’s attorneys or
accountants, the Debtor’s creditors, or any other outside party in interest, or their respective
attorneys or accountants, except that the Firm may represent David L. Hahn in his capacity as
bankruptcy trustee in other unrelated cases.

12. The Firm is not and was not an investment banker for any outstanding
security of the Debtor.

13. The Firm has not been within three (3) years before the date of the filing of
the petition herein, an investment banker for a security of the Debtor, or an attorney for such an —
investment banker in connection with the offer, sale or issuance of any security of the Debtor.

14. The Firm is not and was not, within two (2) years before the date of the
filing of the petition herein, a director, officer or employee of the Debtor or of any investment

banker for any security of the Debtor.

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APPLICATION ‘TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024

EXHIBIT 9

 

 
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15, As of the Petition Date, the Firm was not a creditor of the Estate, an equity -
security holder or an insider of the Debtor. The Firm has no pre-petition claim against Debtor’s
Estate and was not owed any funds by the Debtor.

16. The Firm neither holds nor represents any interest materially adverse to the
interest of the estate or of any class of creditors or equity security holders, by reason of any direct
or indirect relationship to, connection with, or interest in, the Debtor or an investment banker for
any security of the Debtor, or for any other reason.

17. To the best of my knowledge, none of the attorneys comprising or
employed by the Firm are related to any judge of the United States Bankruptcy Court for the
Central District of California, the United States Trustee, or any person currently employed in the
Office of the United States Trustee, except that: (1) David M. Goodrich and I are panel Chapter 7
trustees; and (2) the Trustee has served as accountant to David M. Goodrich and me in our

capacity as a Chapter 7 trustee.

18. The Firm does not have an interest adverse to the Debtors or the bankruptcy
Estate.

19. Based on the foregoing, the Trustee believes that the Firm is a “disinterested
person” within the meaning of Bankruptcy Code §101(14).

After conducting or supervising the investigation described in Paragraph 10 above,
I declare under penalty of perjury under the laws of the United States of America, that the
foregoing is true and correct.

Executed on October 4, 2013, at Irvine, California.

/s/ Richard A. Marshack
RICHARD A. MARSHACK

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APPLICATION TO EMPLOY MARSHACK HAYS LLP
148230v1/1028-024 : .

EXHIBIT 9

 

 
 

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PARTNERS

RICHARD A. MARSHACK

Richard A. Marshack is a founding member of the firm of Marshack Hays LLP. He was born in Las Vegas,
Nevada, June 21, 1958. He graduated from University of California at Irvine in 1979 with a Bachelor of Arts
degree and California Western School of Law (J.D. Magna Cum Laude, 1982). Recipient, American
Jurisprudence Award: Agency and Partnership. Staff Writer, 1980-1981 and Lead Articles Editor, 1981-1982
California Western Law Review. He was admitted to the California Bar in 1982 and the U. S. District Court,
Central and Southern Districts of California and U.S. Court of Appeals, Ninth Circuit, 1984.

Mr. Marshack was Law Clerk to the Honorable Folger Johnson, Chief Judge, United States Bankruptcy Court,
District of Oregon, 1982-1984, and an Adjunct Professor: Bankruptcy Law, Western States University College
of Law, Bankruptcy Law, 1993; Bankruptcy Law, University of California, Irvine, 1985-1992.

Mr. Marshack has authored several articles, including: “The Toxic Claim: Using Bankruptcy Law to Limit
Environmental Liabilities,’ California Bankruptcy Journal, Volume 19, Number 3, 1991; “Recent
Developments Under Section 546 of the Bankruptcy Code,” Tactics for Unsecured Creditors of Bankrupt
Debtors,” California Lawyer 21, August, 1984; “Adequate Protection for the Unsecured Creditor Under the
Bankruptcy Code”, Commercial Law Journal 621, December 1983; “Recent Developments for Reclaiming
Goods Under the Bankruptcy Code and the Uniform Commercial Code, “Uniform Commercial Code Law
Journal 187, July, 1983; “Reclamation of Goods Under the Bankruptcy Code,” Oregon Debtor-Creditor News
Letter, I, July 1983; “Sindell vs. Abbot Laboratories: Is Market Share Liability the Best Remedy to the DES
Controversy” California Western Law Review 143, 1981.

Memberships: Orange County Bankruptcy Forum, Director and President 1995-96; Orange County Bar
Association (Commercial Law & Bankruptcy Section), Chairman, 1989; California State Bar Association;
Commercial Law League of America; Los Angeles Bankruptcy Forum.

Panel Bankruptcy Trustee for U.S. Bankruptcy Court, Central District of California, 1985 - Present.

D. EDWARD HAYS

D. Edward Hays, is a founding member of the firm of Marshack Hays LLP. He was born in Los Angeles,
California. He graduated with honors from California State University at Fullerton in 1989 with a Bachelor of
Arts degree in Business. He graduated from the University of Southern California Law Center in 1992 where he
was a member of the Hale Moot Court Honors program. Mr. Hays was admitted to practice in 1992.

Mr. Hays currently serves on the Board of Directors for the following organizations: Legal Aid Society of
Orange County; and University of Southern California Law School Annual Fund. He has previously served on .
the Board for the Cal State University Fullerton Alumni Association; and the Cal State University Fullerton
Philanthropic Foundation. In 2004-2005, Mr. Hays served as the President of the Cal State Fullerton Alumni
Association and was selected that year as a CSUF Volunteer of the Year. In 2004, Mr. Hays was the Chair of
the Resolutions Committee for the Orange County Bar Association and has served as a delegate to the State Bar
Conference on behalf of Orange County every year since 1995.

Ed focuses his practice on bankruptcy and litigation matters. In 2000, he was the Chair of the Commercial Law
& Bankruptcy Section of the Orange County Bar Association. He also has served as a Director or member of

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the following organizations: the Inland Empire Bankruptcy Forum; the Orange County Bankruptcy Forum; the

William P. Gray Legion Lex American Inns of Court, the Federal Bar Association, and the Executive Council
for the College of Business at Cal State Fullerton. In 1998 and 1999, Mr. Hays also served as a Judge Pro Tem
for the Superior Court of the State of California, County of Los Angeles. Ed has been selected on numerous
occasions to present continuing education lectures on various legal topics including bankruptcy, litigation,
exemptions, and legal research. He also served on the Central District Task Force for Amendments to the Local
Bankruptcy Rules.

In 2004, Ed won the State Bar 5k race and, in 2005 and 2006, was the runner-up. He also actively participates in
endurance events completing full-distance Ironman Triathlons in 2000 and 2003 and a 50 mile ultra-run in
2009.

Ed’s published cases include: In re Continental Capital & Credit, 158 B.R. 828 (Bankr. C.D. Cal. 1993); In re
Turner, 186 B.R. 108 (9th Cir. BAP 1995); In re National Environmental Waste Corporation, 191 B.R. 832
(Bankr. C.D. Cal. 1996) aff'd 129 F.3d 1052 (9th Cir. 1997); In re Metz, 225 B.R. 173 (9th Cir. BAP 1998);
Blonder v. Cumberland Engineering, (1999) 71 Cal_App.4th 1057, 84 Cal. Rptr.2d 216; In re Kuraishi, 237 B.R.
172 (Bankr. C.D. Cal. 1999); In re Kim, 257 B.R. 680 (9th Cir. BAP 2000); Jn re Dudley, 249 F.3d 1170 (9th
Cir. 2001); In re Dick Cepek, 339 B.R. 730 (9th Cir. BAP 2006); Zn re Rinard, 451 B.R. 12 (Bankr. C.D. Cal.
2011); and In re Four Star Financial Services, Inc., 444 B.R. 428 (Bankr. C.D. Cal. 2011) rev'd 469 B.R. 30
(C.D. Cal. 2012); and In re Cass, 476 B.R. 602 (Bankr. C.D. Cal. 2012).

DAVID M. GOODRICH

David M. Goodrich is a partner of Marshack Hays LLP. Mr. Goodrich was born in San Diego, California on
January 10, 1975. Mr. Goodrich graduated from the University of Arizona in 1997 with a Bachelor of Arts
degree in Political Science with a minor in General Business. Mr. Goodrich attended law school at Whittier
Law School in Costa Mesa, California and graduated in May 2000.

Prior to joining Marshack Hays LLP, Mr. Goodrich was the founding member of the Goodrich Law Corporation
which opened for business on July 1, 2007. Before incorporating the Goodrich Law Corporation, Mr. Goodrich
was an associate at Cooksey, Toolen, Gage, Duffy & Woog, P.C. for seven years and served as the firm’s
bankruptcy department manager for four years. Mr. Goodrich also served as a summer extern at Malcolm,
Cisneros and Hauser in 1998.

Mr. Goodrich is a Chapter 7 Panel Trustee for the Central District of California - Los Angeles Division. Mr.
Goodrich has also served as a Chapter 11 Trustee.

Mr. Goodrich has represented debtors, creditors and trustees in main case and adversary proceedings throughout
State of California. He has also represented secured and unsecured creditors in civil litigation cases since 2000.

Mr. Goodrich has been certified as a Bankruptcy Law Specialist by State Bar of California.

In 2007, Mr. Goodrich authored AmeriCredit Financial Services’ briefs filed in the matters of Jn re Penrod and
In re Cohrs, as wells as co-authoring the brief filed by Ford Motor Credit in the matter of In re Dumont.

Mr. Goodrich has served as Panelist for the Los Angeles, Riverside, and Orange County Bankruptcy Forums on
~ creditor rights under the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005 (Orange County:
April 2005, October 27, 2005 and May 11, 2006; Riverside: July 2005; and Los Angeles: October 6, 2005), as
well as debtor and creditor rights in connection with Reaffirmation Agreements (Los Angeles 2007; and Orange
County T November 30, 2010).

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In 2005, Mr. Goodrich worked with Judge Barr to draft revised local rules for the Central District of California

to reflect the changes made under the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005.

Mr. Goodrich is a member of State Bar of California (2000), the Orange County Bar Association (2007), a
Board Member of the Orange County Bankruptcy Forum (2011), and the Los Angeles Bar Association,
Commercial and Bankruptcy Law Section (2007).

OF COUNSEL

KRISTINE A. THAGARD is of Counsel to Marshack Hays LLP. Ms. Thagard’s practice areas includes
contract, construction, loan enforcement (including lender’s right to insurance proceeds and guarantees),
purchase and sale transactions, partnership dispute, toxic cleanup and environmental contamination, broker
malfeasance, fiduciary duty (broker/agent, partnership and trust), and insurance (negotiation, bad faith, and
declaratory relief). She has significant litigation experience in multi-party complex construction defect actions,
all aspects of general/commercial liability defense (construction, product and premise liability), subrogation,
and real estate (broker/agent, contract, title, contract and fraud).

Ms. Thagard was born in Lynwood, California and graduated cum laude from Menlo College where she is a
member of the Board of Trustees. She received her J.D. from the University of Southern California in 1980.
While in law school she served as a judicial extern to the Honorable Robert Kingsly, Second Appellate District
Court of Appeal. She is admitted to practice in both California (1980) and Nevada (2001) as well as the Federal
Courts of both states. She also holds a California Real Estate Broker’s License.

ASSOCIATES

CYNTHIA S. CONNERS is an associate of the firm of Marshack Hays LLP. She was born in Boston,
Massachusetts. She graduated cum laude from UCLA with a Bachelor of Arts degree in Political Science,
completed course work for her Masters Degree in Public Administration at the University of San Francisco, and
received her Juris Doctor from the University Of California Los Angeles School Of Law in 1983, graduating in
the top one percent of her class. She was a member of the UCLA Law Review in 1981-1982, and a Comment
Editor in 1982-1983, Order of the Coif, and received the American Jurisprudence award for Evidence. She
served as extern law clerk to the Honorable Richard Hill, Central District of California, in 1982. Ms. Conners
was admitted to the State Bar of California in 1983, to the Nevada Bar in 1999, and to the New Jersey State Bar
in 2004,

She served in the United States Army from 1975 to 1985, and served as a Judge Advocate General’s Corps
prosecutor for the Second Infantry Division in Korea and as a defense counsel at the Presidio of San Francisco.
After serving in the Army she practiced as a litigation associate and partner at several prestigious law firms
handling many complex trials.

Ms. Conners is currently the Mayor of the City of Laguna Woods. She also serves on the Orange County Waste
Management Commission, the Coastal Greenbelt Authority, and the El Toro Water District Advisory Council.

MARTINA A. SLOCOMB is an associate attorney at Marshack Hays LLP. Her practice involves a wide
range of Chapter 7 and Chapter 11 bankruptcy, creditors’ rights, and business and civil litigation matters. Ms.
Slocomb’s bankruptcy experience includes representing Chapter 7 trustees in locating and administering estate
assets, litigating actions against debtors including nondischargeability and asset recovery actions, and litigating
actions against third party recipients of fraudulent and preferential transfers. Ms. Slocomb has represented
secured and unsecured creditors who have claims against individuals and corporations that have filed for
bankruptcy, including lenders, landlords, and trade creditors. She regularly represents creditors in adversary
actions to have the debts owed to them determined nondischargeable in a debtor’s bankruptcy... Ms. Slocomb
has also represented multiple Chapter 11 debtors and creditors’ committees.

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_ Ms. Slocomb’s civil litigation experience includes obtaining pre-judgment remedies; enforcing judgments;
defending borrowers sued for judicial foreclosure and to enforce personal guaranties; seeking appointment of

_receivers for creditors; representing receivers in state court actions in which they had been appointed; defending
developers, banks, and other parties who have been sued for foreclosure of mechanic’s liens and enforcement of
stop notice claims; seeking unlawful detainer judgments on behalf of landlords and lenders; and handling a
variety of other civil litigation matters.

Ms. Slocomb is admitted to practice law in California and Montana and is admitted to the United States District
Courts for the Central, Southern, and Eastern Districts of California. She is member of the Orange County Bar
Association, the Orange County Bankruptcy Forum, and the Los Angeles County Bar Association.

Ms. Slocomb graduated from Lewis & Clark College in Portland, Oregon in 2001 with a Bachelor of Arts in
International Affairs and Foreign Languages with an emphasis in Spanish and French. She received her J.D.
from the University of Southern California in 2007. While at USC, Ms. Slocomb was the Managing Editor of
the Review of Law & Social Justice. In 2007 she served as a judicial extern to the Honorable Dale S. Fischer of
the United States District Court for the Central District of California.

JUDITH E. MARSHACK is an Associate with Marshack Hays LLP. She was born in Inglewood, CA. Ms.
Marshack graduated from the California State University, Long Beach in 1982 and from Western State
University, College of Law in 1992, and was admitted to practice law in 1992.

SARAH C. BOONE is an Associate attorney at Marshack Hays LLP. Her practice involves a wide range of
business and civil litigation, creditors’ rights, and bankruptcy matters. Her bankruptcy law practice often
involves representation of Trustees on behalf of secured and unsecured creditors who have claims against
individuals and corporations that have filed for bankruptcy, including lenders, landlords, and trade creditors.
Ms. Boone’s previous litigation experience includes extensive federal securities litigation practice with
emphasis on representation of institutional and individual clients in class action lawsuits alleging public
companies’ violations of the Securities Act and Securities Exchange Act, under the umbrella of the Private
- Securities Litigation Reform Act.

Ms. Boone is admitted to practice law in California and Montana and is admitted to the United States District
Courts for the Northern, Central, and Southern Districts of California and the United States District Court for
the District of Montana. She is an Editor of the California Bankruptcy Journal and a member of the Orange
County Bar Association and the San Diego County Bar Association.

Ms. Boone graduated from the University of Southern California in Los Angeles, California with a Bachelor of
Arts in Philosophy and a Master of Fine Arts in Professional Writing. She received her J.D. in 2007 from
Tulane University Law School in New Orleans, Louisiana.

CHAD V. HAES is an associate attorney at Marshack Hays LLP. His practice areas include bankruptcy
litigation, business and civil litigation, lender liability, and creditors’ rights. Mr. Haes’ litigation experience
includes representing institutional lenders in actions related to lien priority and wrongful foreclosure,
prosecuting and enforcing mechanic’s liens, seeking unlawful detainer judgments on behalf of secured lenders
and representing creditors, debtors and trustees in the bankruptcy context.

Mr. Haes is a California native who earned his Bachelor of Arts degree from Azusa Pacific University in 2004
and his law degree from Southwestern Law School in 2008. Prior to joining Marshack Hays, Mr. Haes served a
two-year term as the judicial law clerk to the Honorable Meredith A. Jury of the United States Bankruptcy
Court for the Central District of California, Riverside Division. .Mr. Haes also externed for Honorable Samuel
L. Bufford of the United States Bankruptcy Court for the Central District of California, Los Angeles Division.

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While in law school, Mr. Haes was a member of the Moot Court Honors Program and the recipient of the John

J. Schumacher full-tuition scholarship, the Equal Justice America fellowship, the Wiley W. Manuel Award for
Pro Bono Legal Services and the CALI Excellence Award for Constitutional Law. Mr. Haes was also selected
as a finalist oralist and finalist writer in the Southwestern First-Year Intramural Moot Court Competition and a
finalist oralist in the Rendigs National Products Liability Moot Court Competition.

DAVID A. WOOD is an associate attorney at Marshack Hays LLP. His practice areas include bankruptcy
litigation, business and civil litigation, lender liability, and creditors’ rights.

Mr. Wood earned his Bachelor of Arts degree from Biola University in 2003, where he graduated magna cum
laude. Thereafter, Mr. Wood was a senior associate at Alfred Gobar Associates, a firm specializing in
developing econometric modeling systems to evaluate land development opportunities, and the existence of
economic blight. He earned his law degree from Chapman University School of Law in 2010, where he
graduated in the top 6% of his class. Prior to joining Marshack Hays, Mr. Wood served a two-and-a-half year
term as the judicial law clerk to the Honorable Erithe A. Smith of the United States Bankruptcy Court for the
Central District of California, Santa Ana Division. Mr. Wood also externed for Honorable Theodor C. Albert of
the United States Bankruptcy Court for the Central District of California, Santa Ana Division.

While in law school, Mr. Wood was a symposium editor for the Chapman Law Review and the recipient of the
CALI Excellence Award for Immigration Law and Select Topics in American Law.

PARALEGALS AND TRUSTEE ADMINISTRATORS

PAMELA KRAUS, Trustee Case Administrator and Paralegal 1990 to Present; Education: Coastline
Community College, Costa Mesa (A.A. 2004); Legal Assistant Training Program, Coastline Community
College, American Bar Association Certification (Completion 2004). Member: Orange County Paralegal
Association; Orange County Bankruptcy Forum; National Association of Bankruptcy Trustees.

LAYLA BERGINI, Experience: Ms. Bergini has over seventeen years of law related experience working in
civil, bankruptcy and family law, while working under the direct supervision of active members of the
California State Bar. Member: Orange County Legal Secretaries Association. Ms. Bergini has extensive
knowledge in all aspects of state and federal court litigation and bankruptcy practices.

CHANEL MENDOZA, Experience: Ms. Mendoza has worked in the legal field for more than fifteen years.
After graduating high school, she enrolled in a legal secretary program. Shortly after graduation, she began a
decade-long career as a legal assistant in both federal and state court matters qualifying her as a paralegal under
California law. Ms. Mendoza has a proven track record of drafting notices, basic motions, agreements, proofs
of service, complaints, answers, declarations and orders. She has completed the course offered by the United
States Bankruptcy Court for the Central District of California on Electronic Case Filing (“ECF”). Ms. Mendoza
has developed exceptional organizational and writing skills and remains dedicated to providing
uncompromising service. Chanel was a former Board Member of NALS and is a current member of the
National Notary Association and Orange County Legal Secretaries Association, Inc.

CYNTHIA BASTIDA, Experience: Ms. Bastida has over fourteen years of experience working as a Legal
Assistant/Paralegal. She is a certified Paralegal (completion in 1991) and earned a Bachelor of Arts from
California State University Fullerton in 2004. Her experience ranges from civil litigation, real estate and
corporate law as well as eminent domain. She has experience. in trial preparation and has drafted notices,
motions and discovery.

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LAURIE MCPHERSON, Trustee Case Administrator 2007 to present; Trustee field agent and/

paraprofessional 1988 to 2007; Experience: Twenty years of law related experience as a bankruptcy trustee
paraprofessional working under the direct supervision of active members of the California State Bar and
attorneys who practice in federal courts located in California.

ANGELA CONNELL, Trustee Case Administrator for David M. Goodrich, 2011 to present; Ms. Connell attended
Arizona State University and earned a Bachelor of Arts in Theatre Performance and Shakespearian Literature and a
second Bachelor of Arts degree in Business Management and Global Health. Ms. Connell has worked in various positions
in the legal field, including, but not limited to, preparation of Chapter 7 and 13 petitions, assisting attommeys in client
consultations, depositions and trial preparation and supervising the intake of all potential Chapter 7 bankruptcy clients.
Ms. Connell is currently seeking her MBA from UCLA Anderson School of Management.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Billing Rates:

{Vimekeeper Rate
Richard’A. Marshack $540.00
D. Edward Hays $475.00
David M. Goodrich $390.00
Kristine A. Thagard $380.00
Cynthia S. Conners $395.00
Martina A. Slocomb $325.00
Judith Marshack $325.00
Sarah C. Boone $325.00
Chad V. Haes $295.00
David A. Wood $285.00
Pamela Kraus $210.00

| Chanel Mendoza $175.00
Layla Bergini $175.00
Cynthia Bastida $150.00

 

 

 

 

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not.a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt Avenue, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): APPLICATION BY CHAPTER 7 TRUSTEE TO
EMPLOY MARSHACK HAYS LLP AS GENERAL COUNSEL; DECLARATION OF RICHARD A. MARSHACK IN
SUPPORT will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
6, 2013, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the

following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below: .

e INTERESTED PARTY: Addison K Adams aadams@richardsonpatel.com

e ATTORNEY FOR DR. RONALD CARDOSO: Jeffrey S Goodfried jgoodfried@perkinscoie.com,
cmallahi@perkinscoie.com , oo

e DavidL Hahn(TR)  trustee@hahnfife.com, dhahn@ecf.epiqsystems.com

@ . ATTORNEY FOR PETITIONING CREDITOR ENTERPRISE COUNSEL GROUP ALC: David E Lioman
thansen@enterprisecounsel.com

e ATTORNEY FOR PETITIONING CREDITOR PATRICK CURRAN: Thomas J Polis tom@polis-law.com

« ATTORNEY FOR DEBTOR: Leonard M Shulman — [shulman@shbllp.com

e INTERESTED PARTY: United States Trustee (SA) _ ustopregion16.sa.ecf@usdoj.gov
[_] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On _October 7, 2013, | served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
willbe completed no later than 24 hours after the document is filed.

DEBTOR

OSSEOUS TECHNOLOGIES OF AMERICA INC

4695 MACARTHUR CT STE 1430

NEWPORT BEACH, CA 92660-1869

[] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours: after the document i is

filed.
SERVICE ON JUDGE NOT REQUIRED PURSUANT TO LBR 5005-2(d)
[-] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

October 7, 2013 Pamela Kraus /s/ Pamela Kraus
Date . Printed Name Signature

 

This form is mandatory. !t has been approved for use by the United States Bankruptcy Court for the Central District of California.

+ dune 2012 7 | F 9013-3.1.PROOF.SERVICE

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EXHIBIT 9

 
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Exhibit 10

 
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RICHARD A. MARSHACK, #107291
rmarshack@marshackhays.com
DAVID A. WOOD, #272406
dwood@marshackhays.com
MARSHACK HAYS LLP FILED & ENTERED
870 Roosevelt Avenue
Irvine, CA 92620
Telephone: (949) 333-7777 OCT 25 2013
Facsimile: (949) 333-7778

 

 

 

 

 

. CLERK U.S. BANKRUPTCY COURT
Attor neys for Chap ter 7 Trustee, Central District of California

DAVID L. HAHN BY deramus DEPUTY CLERK

 

 

 

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

In re Case No. 8:13-bk-14500-SC

OSSEOUS TECHNOLOGIES OF Chapter 7
AMERICA, INC.,
ORDER GRANTING APPLICATION BY
CHAPTER 7 TRUSTEE TO EMPLOY
Debtor. MARSHACK HAYS LLP AS GENERAL
COUNSEL

[Unopposed Motion — No Service of Proposed
Order or Lodgment Period Required Pursuant to
LBR 9021-1(b)(4)1

 

 

 

The Court having read and considered the Chapter 7 Trustee’s Application to
Employ Marshack Hays LLP as General Counsel and the Declaration Richard A. Marshack. in
Support (the Application”) filed as Docket No. 116 and it appearing from the Declaration of
Non-Opposition filed by Richard A. Marshack as Docket No. 147 that proper notice has been

given and good cause has been shown, the Court hereby makes its Order as follows:

///
/T/
///

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EXHIBIT 10

 

 
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1 IT IS HEREBY ORDERED that the Chapter 7 Trustee’s Application to employ
2 | MARSHACK HAYS LLP as the estate’s general counsel pursuant to 11 U.S.C. Section 327 is

3 |hereby granted. Any compensation or reimbursement of costs shall only be paid upon

4 | application to and approval by the Court pursuant to 11 U.S.C. Sections 330 or 331.

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- Mate: October 25, 2013 Scott C. Clarkson

95 United States Bankruptcy Judge

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EXHIBIT 10

 

 
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NOTICE OF ENTERED ORDER AND SERVICE LIST

Notice is given by the court that a judgment or order entitled (specify): ORDER GRANTING APPLICATION BY
CHAPTER 7 TRUSTEE TO EMPLOY MARSHACK HAYS LLP AS GENERAL COUNSEL was entered on the date
indicated as AEnteredé@ on the first page of this judgment or order and will be served in the manner stated below:

1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) B Pursuant to controlling General Orders
and LBRs, the foregoing document was served on the following persons by the court via NEF and hyperlink to the
judgment or order. As of October 25, 2013, the following persons are currently on the Electronic Mail Notice List for this
bankruptcy case or adversary proceeding to receive NEF transmission at the email addresses stated below.

 

Addison K Adams aadams@richardsonpatel.com

M Douglas Flahaut — flahaut.douglas@arentfox.com

Jeffrey S Goodfried. jgoodfried@perkinscoie.com, cmallahi@perkinscoie.com
David L Hahn (TR) trustee@hahnfife.com, dhahn@ecf.epiqsystems.com
David E Lipman thansen@enterprisecounsel.com .

Richard A Marshack rmarshack@marshackhays.com,
ibergini@marshackhays.com;ecfmarshackhays@gmail.com

Thomas J Polis tom@polis-law.com

Leonard M Shulman — Ishulman@shbllp.com

United States Trustee (SA) . ustpregion16.sa.ecf@usdoj.gov

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[_] Service information continued on attached page

2. SERVED BY THE COURT VIA UNITED STATES MAIL: A copy of this notice and a true copy of this judgment or
order was sent by United States mail, first class, postage prepaid, to the following persons and/or entities at the
addresses indicated below:

DEBTOR

Osseous Technologies of America Inc
4500 Campus Dr

Suite 662

Newport Beach, CA 92660

[_] Service information continued on attached page

3. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment or order which
bears an AEnterede stamp, the party lodging the judgment or order will serve a complete copy bearing an AEntered@
stamp by United States mail, overnight mail, facsimile transmission or email and file a proof of service of the entered order
on the following persons and/or entities at the addresses, facsimile transmission numbers, and/or email addrésses stated
below:

[_] Service information continued on attached page

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2042 a F 9021-1.1.NOTICE.ENTERED.ORDER
EXHIBIT 10

 
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Exhibit 11 _

 
Case 8:1
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RICHARD A. MARSHACK, #107291
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DAVID A. WOOD, #272406
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Proposed Attorneys for Chapter 7 Trustee,
DAVID L. HAHN

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

In re Case No. 8:13-bk-14500-SC
OSSEOUS TECHNOLOGIES OF Chapter 7
AMERICA, INC.,

APPLICATION BY CHAPTER 7 TRUSTEE TO
Debtor. EMPLOY LORI J. ENSLEY AS FIELD AGENT
AND APPROVAL OF INTERIM PAYMENT
PROCEDURE; DECLARATIONS OF DAVID
A. WOOD AND LORI J. ENSLEY IN
SUPPORT

 

[No Hearing Required]

 

TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,
THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL OTHER INTERESTED
PARTIES:

David L. Hahn, in his capacity as Chapter 7 Trustee (“Trustee”) of the
Bankruptcy Estate (“Estate”) of Osseous Technologies of America, Inc. (“Debtor”) respectfully
submits this emergency application (“Application”) for entry of an Order authorizing the
employment of Lori J. Ensley (“Agent”) as the Trustee’s field agent in this case pursuant to 11
USS.C. §327, effective October 13, 2013. |

In support of this Application, the Trustee respectfully represents as follows:
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APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024 :

EXHIBIT 11

 

 
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L. PURPOSE OF EMPLOYMENT

The Trustee seeks to hire Ms. Ensley to hire to assist in operating the business, to
assist in evaluating the financial and business records, and to assist counsel for the Trustee to
analyze and pursue assets of the estate.
IL. PERTINENT BACKGROUND FACTS!

An Involuntary Petition against the Debtor was filed on May 22, 2013 by creditor:
Patrick Curran.

On June 20, 2013, the Debtor filed its answer to the Involuntary Petition. On
August 21, 2013, an Order for Relief under Chapter 7 of the Bankruptcy Code was entered (the
“Relief Order No. 1”).

Thereafter, on August 23, 2013, Debtor and Mr. Curran filed a stipulation for
“Delay and Execution of Entry and Entry for Order for Relief and Anticipated Request for
Dismissal of Case Pending Completion of Settlement” (the “Dismissal Stipulation”). The court
granted the Stipulation, and vacated Relief Order No. | via an order entered on August 23, 2013
(the “Stipulation Order’).

On August 29, 2013, Debtor filed a motion to dismiss the underlying bankruptcy
case (the “Dismissal Motion”).

On September 9, 2013, the court issued an “Order To Show Cause Why Order For
Relief Should Not be Entered” (the “OSC”) which was set for hearing for September 19, 2013.
After the hearing held on September 19, 2013, the court entered an “Order For Relief in An
Involuntary Case” (the “Relief Order No. 2.’”). Pursuant to the Relief Order No. 2, Debtor was to
“file within seven (7) days after entry of this order for relief, a list containing the name and
address of each entity included on Schedule D, E, F, G, and H, as prescribed by the Official
Forms. .. Debtor must file schedules, and statement referred to in Federal Rules of Bankruptcy

Procedure 1007 within fourteen (14) days after entry of this Order for Relief.” See Relief Order

 

' The facts set forth in this section were obtained from pleadings found on the Court’s PACER

website. See Declaration of Richard A. Marshack (“Marshack Decl.”), { 3.)
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APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024

EXHIBIT 11

 

 
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No. 2, pg. 2, Ins 6-11. Stated otherwise, Debtor had until September 26, 2013 to file a list of

creditors, and until October 3, 2013 to file his schedules and statement of financial affairs.

- On October 2, 2013, David L. Hahn was appointed as Chapter 7 trustee (“Trustee”)
for the bankruptcy estate (“Estate”). Debtor filed a stipulation vacating the Dismissal Motion
which was approved by the court via an order entered on October 2, 2013.

On October 7, 2013, the Trustee filed an “Emergency Application for an Order to
Show Cause” which came for hearing on October 10, 2013. See Docket Entry No. 119. At the
October 10, 2013, the Court granted the Trustee’s application and set a hearing on October 24,
2013. On October 16, 2013, the Court entered the order to show cause (the “OSC”). Concurrent
with this instant application, the Trustee has filed a motion to operate the Business (the “Motion to
Operate”).

A. REQUIREMENTS FOR APPLICATION TO EMPLOY PROFESSIONAL

Pursuant to Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local
Bankruptcy Rule 2014-1, there follows a summary of the proposed employment of the Agent.
Should any additional information be requested by the Office of the United States Trustee, the
Court, or any party in interest, the Trustee will provide a supplemental declaration prior to any
hearing on this Application.

1. _ DBR 2014-1(b)(1)(A) and LBR 2014-1(b)(3)(B) — Employment and Compensation

Pursuant to LBR 2014-1(b)(1)(A), “[a]n application seeking approval of
employment of a professional person pursuant to 11 U.S.C. §§ 327, 328, 1103(a), or 1114 must
comply with the requirements of FRBP 2014 and 6003(a) and be filed with the court. The
application must specify unambiguously whether the professional seeks compensation pursuant to
11 U.S.C. § 328 or 11 U.S.C. § 330.”

Pursuant to LBR 2014-1(b)(3)(B), the Notice of the Application must also “[s]tate
whether the professional seeks compensation pursuant to 11 U.S.C. § 328 or 11 US.C. § 330.”

The Trustee seeks employment of the Agent pursuant to 11 U.S.C. §327. The

Agent will seek compensation pursuant to 11 U.S.C. §§330 and 331.

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APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024 .

EXHIBIT 11

 

 
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2, FRBP 2014

Rule 2014(a) of the Federal Rules of Bankruptcy Procedure provides as follows:

An order approving the employment of attorneys, accountants, appraisers,
auctioneers, agents, or other professionals pursuant to §327, §1103, or
$1114 of the Code shall be made only on application of the trustee or
committee. The application shall be filed and, unless the case is a chapter 9
municipality case, a copy of the application shall be transmitted by the
applicant to the United States trustee. The application shall state the specific
facts showing the necessity for the employment, the name of the person to
be employed, the reasons for the selection, the professional services to be
rendered, any proposed arrangement for compensation, and, to the best of
the applicant's knowledge, all of the person's connections with the Debtors,
creditors, any other party in interest, their respective attorneys and
accountants, the United States trustee, or any person employed in the office
of the United States trustee. The application shall be accompanied by a
verified statement of the person to be employed setting forth the person's -
connections with the Debtors, creditors, any other party in interest, their
respective attorneys and accountants, the United States trustee, or any
person employed in the office of the United States trustee.

The Trustee is seeking employment of the Firm. A copy of this Application will be
served on the Office of the United States Trustee.

a. FRBP 2014 - Facts Showing the Necessity for the Employment

 

Debtor operates a business known as Brazilian American Trading Company, Inc.,
dba Osseous Technologies of America (the “Business”). The Business is a medical device
company which focuses on the sale and distribution of dental products. The Business was
incorporated in Delaware in 2003, but currently operates out of Newport Beach, CA. The Business
sells supplies to doctors who specialize in the restoration and placement of dental implants.
Primarily, a majority of the products sold are accessories to implantology.” The Business does not
sell actual dental implants. Moreover, the Business recently developed a collagen for dental
implants which was patented in January 2013 (the “Patent”).> The collagen and its uses have been
approved by the United States Food and Drug Administration (the “FDA”) for dental application.

However, the patented technology has potential beyond its current dental applications.

 

2 .
~ Debtor’s website can be found at http://Awww.osseoustech.com/

3 The Trustee is informed and believes that Debtor is the assignee of the Patent.

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APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024

EXHIBIT 711

 

 
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In this case, the Trustee requires Ms. Ensley to oversee the financial aspects of the
Business. Ms. Ensley has experience operating businesses, and has the resources, time, and staff
that may be necessary to operate the Business. In addition, Ms. Ensley can oversee the financial
aspects of the Business while it is being marketed for sale to ensure that it maintains its value and
all funds are properly accounted for by the Debtor. Ms. Ensley can also assist the Trustee in his
marketing efforts by providing information, independent of Debtor, regarding the value of the
Business assets and the value of the business as a going concern. Ms. Ensley will operate the
Business on a day-to-day basis.

i. FRBP 2014 and LBR 2014-I(b}(3)(A) - Name of the Person to Be Employed

In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy
Procedure, LBR 2014-1(b)(3)(A) provides that the Notice of the Application must “[s]tate the
identity of the professional and the purpose and scope for which it is being employed” (emphasis
added).

‘The Trustee seeks to employ Lori J. Ensley. Pursuant to Rule 2014(b) of the
Federal Rules of Bankruptcy Procedure, Ms. Ensley will act as agent for the Estate without further
order of the court.

b. FRBP 2014 and LBR 2014-1(b)(3)(A) - Reasons for the Selection

 

In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy
Procedure, LBR 2014-1(b)(3)(A) provides that the Notice of the Application must “[s]tate the
identity of the professional and the purpose and scope for which it is being employed” (emphasis
added).

The Trustee believes that the Agent is well-qualified to render the foregoing
services. Agent specializes in insolvency, bankruptcy and corporate reorganization. Furthermore,
Agent is experienced in debtor/creditor matters, including assisting trustees in bankruptcy cases.
A biography of Ms. Ensley is attached as Exhibit 1 to the Declaration of Lori J. Ensley (“Ensley

Declaration”).

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APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024

EXHIBIT 11

 

 
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c. FRBP 2014 and LBR 2014-1(b)(3)(A) ~ Professional Services to be
Rendered
In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy
Procedure, LBR 2014-1(b)(3)(A) provides that the Notice of the Application must “[s]tate the
identity of the professional and the purpose and scope for which it is being employed” (emphasis
added).
The Trustee requires the assistance of the Agent to investigate Debtor’s financial affairs,

and to assist the Trustee in the following matters, including, but not limited to:

Daily Operations
- Shipping & Receiving
- All Banking
- Daily verification of cash sales & deposits
~ Monitoring bank accounts online for credit card deposits and cash flow
- Daily sales, including cash on delivery (CODs)
- A/P
~ Inventory Issues
- Personnel Issues
- Warehouse Safety
.~ Hiring/Firing
~ Meeting with employees re: Trustee's role
- Payroll
- Verify time sheets, oversee data input and electronic payroll service

Insurance Status Verification

Trustee Liaison
- All assignments given by David L. Hahn
- Meetings with principals- Act as Trustee’s eyes and ears on location —
~ Asset analysis
— Review business and financial documents and records to assist in
determining bona fide transactions and assets of the estate

None of the services performed by the Firm will duplicate services but will
supplement services performed by other professionals employed in these cases.

Trustee contends that Agent will provide no services that are listed in

 

paragraph ({)(1) of LBR 2016-2.

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APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024

EXHIBIT 11

 

 
 

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d. FRBP 2014 and LBR 2014-1(b)(3)(C) - Proposed Arrangement for
Compensation

In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy
Procedure, LBR 2014-1(b)(3)(C) provides that the Notice of the Application must “[d]escribe the
arrangements for compensation, including the hourly rate of each professional to render services,
source of the fees, the source and amount of any retainer, the date on which it was paid, and any
provision regarding replenishment thereof[.]”

Agent will render services to the Estate at the Agent’s reduced hourly rate of
$75.00, which may be adjusted from time to time. It is noteworthy that Agent’s standard hourly
rate for representation of chapter 11 debtors and chapter 7 trustees is $195. Agent has agreed to a
significant reduction because the number of hours involved in this particular case would be cost
prohibitive if she charged her normal rate.

Agent will be compensated from assets of the Estate, if any, and will not be
compensated absent the Estate’s receipt or recovery of such assets. Agent has received no retainer
for the services to be performed in this case, and has agreed that no retainer will be paid.

Trustee requests authorization to pay, on a monthly basis, 80% (eighty percent) of
the Agent’s fees in an amount not to exceed $10,400 (80% of forty (40) hours per week multiplied
by $75.00 per hour, for 4.3 weeks per month).’ Agent will present Trustee with a bill which
complies with the Federal Rules of Bankruptcy Procedure Rule 2016 to include detailed time
entries by category and type of service. Trustee also requests authority to pay 100% of the Agent’s
out-of-pocket expenses on a monthly basis. Agent will not bill for travel time. However, Agent

will bill for the following out-of-pocket expenses:

 

Mileage (at IRS standard for 2013) | $0.565 per mile

 

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* The Trustee and the Agent believe that once the Agent is able get a full “grasp” of the ongoing business, she can
reduce her weekly hours to 35 hours per week.

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APPLICATION TO EMPLOY FIELD AGENT
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EXHIBIT 11

 

 
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Agent understands that its compensation in this case is subject to approval by the
Bankruptcy Court. In compliance with 11 U.S.C. §§330 and 331, approximately every four
months, or when appropriate, Agent will file an application with the Court seeking allowance and
payment of its fees and costs incurred to that date in accordance with the Bankruptcy Code, the
Federal Rules of Bankruptcy Procedures, the Local Bankruptcy Rules, and the Guides of the UST.

The Firm understands and agrees that the proposed compensation arrangement will
be subject to the provisions of Bankruptcy Code Section 328, which authorizes this Court to allow
compensation different from that provided herein if those fee arrangements appear, in retrospect,
to have been improvident in light of developments unanticipated at the outset of the case.

€. FRBP 2014 - Firm’s Connections and Associations

Except as disclosed herein and to the best of the Agent’s knowledge, neither the
Agent, nor any persons employed by Agent, has any connection with the Debtor or the Debtor’s
attorneys or accountants, the Debtor’s creditors, or any other outside party in interest, or their
respective attorneys or accountants.

Based on the foregoing, the Trustee believes that the Agent is a “disinterested
person” within the meaning of Bankruptcy Code Section 101(14).

Agent does not have an interest adverse to the Debtor or the bankruptcy Estate. As
of the Petition Date, Agent was not a creditor of the Estate and was not owed any funds by the
Debtor.

To the best of the Agent’s knowledge, and as set forth in the attached Ensley
Declaration, neither the Agent, nor any persons employed by Agent, are related to any judge of the
United States Bankruptcy Court for the Central District of California, the United States Trustee, or
any person currently employed in the Office of the United States Trustee, except that Agent has
served as field agent to David L. Hahn and Richard A. Marshack in other unrelated cases.

3. LBR 2014-1(b)(1)(B) — Disinterestedness of the Firm
Pursuant to Pursuant to LBR 2014-1(b)(1)(B), “The application must be

accompanied by a declaration of the person to be employed establishing disinterestedness or

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APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024

EXHIBIT 11

 

 
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disclosing the nature of any interest held by such person.” The Ensley Declaration submitted with
ihis Application provides information establishing Agent’s disintcrestedness,
4. LBR 2014-1fb)C\(C) — Service on Office of the United States Trustee
Pursuant to Pursuant to LBR 2014-1(bI (C), “The United States Trustee must be
served, in accordance with LBR. 2002-2(a), with a copy af the application and supporting
declaration not later than the day it is filed with the court. No hearing is required unless requested

by the United States trustee or a party in interest, or as otherwise ordered by the court.” Ag set

‘forth in the sworn Proof of Service filed contemporancously with this document, the Trustee

served a copy of this Application on the Office of the United States Trustee on the date this:
Application was filed with the Court. |
B. CONCLUSION
WHEREFORE, the Trustee requests that it be authorized to employ Lori J. Ensley
as field agent pursuant to 11 ULS.C. §327, effective October 13, 2013, at the Agent’s hourly rates

with any compensation and reimbursement to be paid as detailed herein, pursuant to 11 U.S.C.

(89330 and 331,

Dated: October 2.2. , 2013 Respectfully submitted,

By: & & secarh, (ft)
DAV IDL. HAT iin
Chapter 7 ‘Trustee for the Bankraptcy Estate of
Osscous Technologies of America, Inc.

 

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APPLICATION TO EMPLOY FIELD AGENT

 

149533v1/1028-024

EXHIBIT 11

 

 
 

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DECLARATION OF RICHARD A.MARSHACK

I, RICHARD A. MARSHACK, declare and state as follows:

1. l am an attorney at law licensed to practice in this state and admitted to
practice in this Court. I am a partner of the law firm Marshack Hays LLP, proposed attorneys for
David L. Hahn, Chapter 7 Trustee.

2. If called as a witness, I could and would competently testify to the
following of my own personal knowledge, information and belief.

3. I have reviewed the court’s PACER docket and the files contained therein
for this case. The citations in this Application are all to pleadings previously filed in this case by
the U.S. Trustee, Debtor, and creditors and the docket numbers referenced herein are the docket
numbers identified on PACER. The information referenced in this Application from the pleadings
filed in this case is true and accurate.

I declare under penalty of perjury under the laws of the United States of America,
that the foregoing is true and correct.

Executed on October 22, 2013, at Irvine, California.

/s/_ Richard A. Marshack
RICHARD A. MARSHACK

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APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024 :

EXHIBIT 11

 

 
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DECLARATION OF LORI J. ENSLEY

I, LORI J. ENSLEY, declare and state as follows:

1. I am over the age of eighteen and have personal knowledge of the
information contained herein and if called upon to testify, I could and would competently testify
thereto.

2. I make this Declaration in support of the Application of Chapter 7 Trustee
to Employ Lori J. Ensley as Field Agent (the “Application”) as filed by the Chapter 7 Trustee

David L. Hahn (the “Trustee”) for the Bankruptcy Estate (“Estate”) of Osseous Technologies of

America, Inc. (the “Debtor”) Case No 8:13-bk-14500-SC.

3. I have agreed to accept compensation as set forth in the Application.

4, I specialize in insolvency, bankruptcy and corporate reorganization and
experienced in debtor/creditor matters, including assisting trustees in bankruptcy cases. I am
familiar with the rules and processes employed in the bankruptcy courts for the Central District of
California.

5. A summary of my qualifications is attached hereto as Exhibit “1.”

6. To the best of my knowledge, I do not hold any materially adverse interest

with the Debtor or the Debtor’s attorneys or accountants, the Debtor’s creditors, or any other
outside party in interest, or their respective attorneys or accountants.

7. I am a “disinterested person" within the meaning of Bankruptcy Code
Section 101(14). I do not have an interest adverse to the Debtor or the Estate. As of the Petition
Date, I was not a creditor of the Estate and was not owed any funds by the Debtor.

8. To the best of my knowledge, I have no connections with the Debtor,
creditors, any other party in interest, their respective attorneys and accountants, the United States
trustee, or any person employed in the office of the United States Trustee.

9. To the best of my knowledge, I have no relation to any judge of the United
States Bankruptcy Court for the Central District of California, the United States Trustee, or any
person currently employed in the Office of the United States Trustee, except that I have served as

field agent to David L. Hahn and Richard A. Marshack in other unrelated cases.

il

 

 

APPLICATION TO EMPLOY FIELD AGENT
149533v1/1028-024

EXHIBIT 11

 

 
 

 

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I 10. | have no pre-petition claim against Debtor’s Estate.

ba

Il. ] have not received a retainer for the services to be performed herein and

understand that my compensation in this case is subject to approval of this Court pursuant to 11

ue

41U.S.C. $§ 327 and 328.

5 12. Attached hereto is my resume.

6 13. | have served as an agent for several Trustees including Richard A.
7 ||Marshack and Lynda T. Bui.

8 14. I have overseen operations of several businesses in a Chapter 11 and

9 Chapter 7 including various Chapter 11 businesses and a medical device company I oversaw with
10 | Nanette Sanders as attorney for Debtor.

Il 15. [typically charge $195.00 per hour but as a result of negotiations with the
12 || Trustee and his professionals, I have agreed to bill at $75 per hour.

13 . 16, | havea background in forensic analysis and therefore expect to save the
14 | estate a substantial amount of money by undertaking review of records that commonly performed
15 | by accountants.

16 [ declare under penalty of perjury under the laws of the United States of America
17 | and the State of California that the foregoing is true and correct.

18 Executed on October 2t 2013 at Necpart baagh California.

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20 SORTS. pbc

 

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APPLICATION TO EMPLOY FIELD AGENT

 

 

 

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EXHIBIT 1

EXHIBIT 11

 
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RESUME

EDUCATION: Graduated in 1983 from the University of California Los Angeles with a Bachelor of Arts in
English and minor in Economics.

EXPERIENCE: Ms. Ensley’s experience includes nine years of accounting experience as a staff accountant,
cost analyst, and controller for various companies; three years as director of operations for a manufacturing and
advertising firm; and twenty years as a financial/turnaround management consultant with Robert F. Bicher &
Associates. Ms. Ensley has overseen a variety of business operations including, but not limited to,
manufacturing, retail, medical practices, advertising, real estate, mortgage, and service businesses. Ms. Ensley
has assisted numerous Chapter 11 Debtors with United States Trustee Compliance Requirements and provided

agent services for Chapter 7 Trustees in Southern California.

EXHIBIT "1"
Page 13

EXHIBIT 11

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt Avenue, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): APPLICATION BY CHAPTER 7 TRUSTEE TO
EMPLOY LORI J. ENSLEY AS FIELD AGENT; DECLARATIONS OF RICHARD A. MARSHACK AND LORI J. ENSLEY
IN SUPPORT will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TOBE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
22, 2013, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

e INTERESTED PARTY: Addison K Adams aadams@richardsonpatel.com
e ATTORNEY FOR DR. RONALD CARDOSO: Jeffrey S Goodfried jgoodfried@perkinscoie.com,
cmailahi@perkinscoie.com
David L Hahn (TR) trustee@hahnfife. com, dhahn@ecf. epiqsystems. com
ATTORNEY FOR PETITIONING CREDITOR ENTERPRISE COUNSEL GROUP ALC: David E Libman
thansen@enterprisecounsel.com
e ATTORNEY FOR PETITIONING CREDITOR PATRICK CURRAN: Thomas J Polis tom@polis-law.com
e ATTORNEY FOR DEBTOR: Leonard M Shulman — Ishulman@shblip.com
e [INTERESTED PARTY: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
[-] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On _October 22, 2013, | served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

DEBTOR
OSSEQUS TECHNOLOGIES OF AMERICA INC
4695 MACARTHUR CT STE 1430
NEWPORT BEACH, CA 92660-1869
[-] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served
the following persons and/or entities. by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

[_] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

October 22, 2013 Pamela Kraus /s/ Pamela Kraus
Date Printed Name Signature

 

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

149533v1/1028-024

EXHIBIT 11

 
 

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1 [RICHARD A. MARSHACK, #107291
rmarshack@marshackhays.com
2|DAVID A. WOOD, #272406
dwood@marshackhays.com

3 |MARSHACK HAYS LLP FILED & ENTERED
870 Roosevelt Avenue
4 lIrvine, CA 92620
Telephone: (949) 333-7777 NOV 15 2013
5 Facsimile: (949) 333-7778

 

 

 

 

 

 

 

 

 

 

6 || Attorneys for Chapter 7 Trustee, Contre Dae Nea  OURT
4 DAVID L. HAHN BYnbolte DEPUTY CLERK
8 CHANGES MADE BY COURT
9 UNITED STATES BANKRUPTCY COURT
10 CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
11
12] Inre . Case No. 8:13-bk-14500-SC
13 | OSSEOUS TECHNOLOGIES OF Chapter 7
AMERICA, INC.,
14 ORDER GRANTING APPLICATION BY
CHAPTER 7 TROSTEE TO EMPLOY LORI
15 Debtor. . J. ENSLEY AS FIELD AGENT AND
APPROVAL OF INTERIM PAYMENT
16 PROCEDURE
17 [Unopposed Motion — No Service of Proposed
Order or Lodgment Period Required Pursuant
18 to LBR 9021-1(b)(4)]
19
20
21 The Court having read and considered the Chapter 7 Trustee’s Application to Employ

72 Lori J. Ensley (“Agent”) as the Trustee’s Field Agent in this case pursuant to 11 U.S.C. §327,

93 effective October 13, 2013 (the “Application”) filed as Docket No. 143 and it appearing from the
74 | Declaration of Non-Opposition filed by Richard A. Marshack as Docket No. 166 that proper

5 notice has been given and good cause has been shown, the Court hereby makes its Order as

26 follows:

27 \///
28 |///

152334v1/1028-024

EXHIBIT 12

 

 

 
Case 8:13-cr-00220-CJC | “Document 80-1 Filed 01/05/15 Page 60 of 61 Page ID #:1055
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J iT IS HEREBY ORDERED that the Chapter 7 Trustee’s Application to employ LORI

J. ENSLEY as the Trustee’s Field Agent pursuant to 11 U.S.C. Section 327 with compensation

under 11 U.S.C. § 330 is hereby granted.
TT IS FORTHER ORDERED that Trustee is authorized to pay 100% of Agent’s out-of-

mm Ww Nh

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pocket costs and 80% of Agent’s fees in an amount not to exceed $10,400, on a monthly basis.

HH #

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ate: November 15, 2013 Scott C, Clarkson
25 United States Bankruptcy Judge

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152334v1/1028-024

 

EXHIBIT 12

 

 
 

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NOTICE OF ENTERED ORDER AND SERVICE LIST

Notice is given by the court that a judgment or order entitled (specify): ORDER GRANTING APPLICATION BY
CHAPTER 7 TRUSTEE TO EMPLOY FIELD AGENT was entered on the date indicated as “Entered” on the first page of
this judgment or order and will be served in the manner stated below:

1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) Pursuant to controlling General Orders and
LBRs, the foregoing document was served on the following persons by the court via NEF and hyperlink to the judgment or
order. As of November 15, 2013, the following persons are currently on the Electronic Mail Notice List for this bankruptcy
case or adversary proceeding to receive NEF transmission at the email addresses stated below.

Addison K Adams aadams@richardsonpatel.com

M Douglas Flahaut _flahaut.douglas@arentfox.com

Jeffrey S Goodfried — jgoodfried@perkinscoie.com, cmallahi@perkinscoie.com

David L Hahn (TR) _ trustee@hahnfife.com, dhahn@ecf.epiqsystems.com

David ELibman thansen@enterprisecounsel.com

Richard A Marshack rmarshack@marshackhays.com,
lbergini@marshackhays.com;ecfmarshackhays@gmail.com

Thomas J Polis tom@polis-law.com

Leonard M Shulman — Ishulman@shbllp.com

United States Trustee (SA) _ ustpregion16.sa.ecf@usdoj.gov

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[-] Service information continued on attached page

2. SERVED BY THE COURT VIA UNITED STATES MAIL: A copy of this notice and a true copy of this judgment or
order was sent by United States mail, first class, postage prepaid, to the following persons and/or.entities at the
addresses indicated below:

DEBTOR

Osseous Technologies of America Inc
4695 MacArthur Ct Ste 1430

Newport Beach, Ca 92660-1869

[_] Service information continued on attached page

3. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment or order which
bears an “Entered” stamp, the party lodging the judgment or order will serve a complete copy bearing an “Entered” stamp
by United States mail, overnight mail, facsimile transmission or email and file a proof of service of the entered order on the
following persons and/or entities at the addresses, facsimile transmission numbers, and/or email addresses stated below:

[_] Service information continued on attached page

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9021-1.1.NOTICE.ENTERED.ORDER
EXHIBIT 12

 
